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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )               4:16CR3038
                                       )
                   Plaintiff,          )
                                       )
      vs.                              )
                                       )               ORDER
CRISTOBAL L. YUCUPICIO,                )
                                       )
                   Defendant.          )

      IT IS ORDERED that:

      (1) The defendant’s unopposed motion to continue sentencing (filing no.
117), which is currently set for August 25, 2016, is granted.

      (2) The defendant’s sentencing is continued to Wednesday, September 21,
2016, at 12:30 p.m., before the undersigned United States district judge, in Courtroom
No. 2, Robert V. Denney United States Courthouse and Federal Building,
100 Centennial Mall North, Lincoln, Nebraska. The defendant shall be present unless
excused by the court.

      Dated July 28, 2016.

                                       BY THE COURT:

                                       s/ Richard G. Kopf
                                       Senior United States District Judge
